Case 1:18-cv-00105-MAC-ZJH Document 9 Filed 04/23/18 Page 1 of 5 PageID #: 132
James D vid Salvagio
C/o 3015 S Saddlebrook Ln
Katy, Texas 77494
713-828-1077
jsalvagio@gmail.com                                                              FILED
                                                                               u. S. DISTRICT COURT



                            IN THE UNITED STATES DISTRICT COURT o jmq
                             FOR THE EASTERN DISTRICT OF TEXAS L
                                    BEAUMONT DIVISION
 Jame David Salvagio and                         §                        BY
 Beverl Salvagio                                 §                        DEPUTY.
                                                 §
           Plaintiffs,                           §
                                                 §
 v.                                              §   CIVIL ACTION NO. l:18-cv-00105
                                                 §
 NEW PENN FINANCIAL, LLC d/b/a                   §
 SHELLPOINT MORTGAGE                             §
 SERVICING, MGTLQ INVESTORS,                     §
 L.P., MARGIE ALLEN, AND DOES                    §
 1 THROUGH 100, INCLUSIVE                        §
                                                 §
           Defendants.                           §
                         PLA1Kim illF S REPLY TO DEFENDANT S RESPONSE
                                    TO MOTION TO REMAND

           On March 8, 2018 New Pen Financial, LLC d/b/a Shellpoint Mortgage Servicing and

 MGTLQ Investors, L.P. (collectively, defendants) filed their ANSWER to Plaintiffs original

 complaint in the State Court and simultaneously filed a NOTICE TO REMOVE the action to this

 Court, pursuant to 28 U.S.C. §§ 1331 and 1441. This action prevented Plaintiffs from filing anything

 else with the State Court, including an amended complaint removing any federal uestion issues.


              MEMORANDUM OF LAW IN SUPPORT OF MOTION TO REMAND
Defendants would enter into this court with no supporting facts or evidence, as to why this case should

not be remanded back to state court, other than to use a deliberate and misleading federal statute

15(a)(2), which is totally inapplicable to an amendment in state court, which is what Plaintiffs are

seeking.



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Salvagio-REPLY TO RESPONSE TO MOTION TO REMAND
 Case 1:18-cv-00105-MAC-ZJH Document 9 Filed 04/23/18 Page 2 of 5 PageID #: 133
Again, The U.S Supreme court made it clear in, Carneigie-Mellon Univ. v. Cohill, 484 U.S. 343

(1988), that a Plaintiff could change and/or amend its complaint in order that it be remanded back to

state court. Plaintiffs are attempting to do such. By filing their answer to the State Complaint, the

defend nts waived their right to seek such a removal. Chavez v. Kincaid, 15 F.Supp.2d 1118 1125

(D.N.M. 1998), which observed that waiver of the right to remove occurs when a defendant manifests

an intent to litigate in the state court. Defendants have clearly manifested an intent to

litigate this matter in state court, as well as surrender to the state s court jurisdiction,

                                               CONCLUSION

          Because Plaintiffs’ intend to file an amended complaint in the State Court which would no

 longer seeks relief for violations of federal statutes; affirmatively raising no federal question that

 would give this Court subject matter jurisdiction and proper venue. And because Defendants clearly

 waived their right to seek removal by filing an answer in the state court, Plaintiffs again respectfully

 request that this court remand this case back to the 58th Judicial District Court, Jefferson County,

 Texas.


 Date: April 21,2018

                                                         Respectfully sub itted,




                                                            By; r                 t; ,
                                                            James D vid Salvagio
                                                            C/o 3015 S. Saddlebrook Ln
                                                            Katy, Texas 77494
                                                            Telephone: 713.828.1077



                                                            /s/ Beverl Salvaeio
                                                            Beverly Salvagio
                                                            C/o 3119 Nashville
                                                            Nederland, Texas 77627




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Salvagio-REPLY TO RESPONSE TO MOTION TO REMAND
Case 1:18-cv-00105-MAC-ZJH Document 9 Filed 04/23/18 Page 3 of 5 PageID #: 134


                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been forwarded
 to all known counsel of record by email and/or Certified mail on the 21st day of April 2018 as
 follows:

 yiA CERTIFIED MAIL/                                   VIA CERTIFIED MAIL/
 RRR                                                    RR
 NO. 9590 9402 2183 6193 3068 31                       NO. 9590 9402 2! 83 6193 3068 48
 C. Charles Townsend                                   Monica Summers
 AKERMAN LLP                                           AKERMAN LLP
 2001 Ross Avenue, Suite 3600                          112 East Pecan Street, Suite 2750
 Dallas, Texas 75201                                   San Antonio, Texas 78205
 Telephone: 214-720-4300                               Telephone: 210-582-0220
 Facsimile: 214-981-9339                               Facsimile: 210-582-0231
 charles.townsend@akerman.com                          monica.summers@akerman.com
 Attorney for Defendants                               Attorney for Defendant




                                                        Bv;
                                                        James David Salvagio




                                                   3
Salvagio-REPLY TO RESPONSE TO MOTION TO REMAND
Case 1:18-cv-00105-MAC-ZJH Document 9 Filed 04/23/18 Page 4 of 5 PageID #: 135



                                     James David Saivagio
                                  C/o 3015 S Saddlebro k Ln
                                       Katy, Texas 77494
                                         713-828-1077
                                      js ivagio@gmaii.cc

April 21,2018

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 UNITED STATES DISTRICT COURT
 300 WILLOW STREET, SUITE 104
 BEAUMONT, TEXAS 77701-2217

Re: Cause No. l:18-cv-00105; Eastern District of Texas/Beaumont Division
James David Salvaeio and Beverl Salvaeio v. New Penn Financial, et al

Dear- Clerk of Court:

Please file the enclosed Reply to Response to Motion to Remand, in connection with the above-
captioned matter and return a certified recorded copy back to me in the enclosed envelope.

Thank you for your time and attention to this matter.

                                                        Sincerely,




                                                        J mes David Saivagio




Enclosures
Case 1:18-cv-00105-MAC-ZJH Document 9 Filed 04/23/18 Page 5 of 5 PageID #: 136
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                                                                 BEAUMONT TX 77701
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